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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



301, 712, 2103 and 3151 LLC, et al.,                        Civ. No. 20-1904 (PAM/BRT)

                     Plaintiffs,

v.

City of Minneapolis,                              PRETRIAL SCHEDULING ORDER

                       Defendant.


       As background, the Complaint was filed on September 4, 2020. (Doc. No. 1.) An

answer to the Complaint was filed on October 21, 2020. (Doc. No. 69.) Plaintiffs’ Motion

for a Preliminary Injunction was denied on November 6, 2020. (Doc. No. 72.) An

interlocutory appeal was filed in the Eighth Circuit and a stay was entered. (Doc. No. 83.)

The Eighth Circuit affirmed the judgment of the District Court on March 14, 2022. (Doc.

No. 89.) The formal mandate issued on May 17, 2022 in accordance with the opinion and

judgment. (Doc. No. 91.) Since the stay lifted upon resolution of the appeal, the Court

issued an Order for Pretrial Conference on May 19, 2022. (Doc. No. 92.)

       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Local Rules of

this Court, and in order to secure the just, speedy, and inexpensive determination of this

action, the following schedule will govern these proceedings unless modified by this

Court’s order. This Pretrial Scheduling Order has been tailored to the needs of the case

with the input of the parties. The parties and their counsel must diligently work to meet

all the deadlines and obligations set forth in the Order.
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STIPULATED PROPOSALS TO AMEND THE SCHEDULING ORDER

       If the parties agree on proposals to amend this Pretrial Scheduling Order, a formal

motion is not necessary unless the provision on “Modification of a Scheduling Order”

below applies. Any stipulation to support a proposed amendment must show good cause

and explain how the requirements of Local Rule 16.3 are satisfied. Agreement between

the parties is not sufficient. Stipulated proposals must be filed, and the parties must

submit a proposed order in Word format to chambers at

thorson_chambers@mnd.uscourts.gov.

MODIFICATION OF A SCHEDULING ORDER—CIRCUMSTANCES WHERE
MOTION IS REQUIRED

       If any portion of a proposed amended scheduling order seeks to resurrect an

expired deadline, or is opposed, a motion to modify the Pretrial Scheduling Order must

be made in accordance with Local Rule 16.3.

GOOD CAUSE FOR A 45 DAY STAY

       The parties jointly proposed that early settlement is possible and request that

discovery be stayed while the parties explore settlement. The Court finds good cause to

support a 45-day stay, until August 4, 2022. The parties must submit a status report no

later than July 18, 2022. A Zoom status conference will be held on July 25, 2022, at 8:30

a.m. Chambers will provide Zoom instructions. Topic to be covered at the status

conference include: (1) status of settlement discussions; (2) electronic discovery; and (3)

amendments to the pretrial scheduling order, including the sequencing of expert reports.




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PRESERVATION OF DOCUMENTS AND ELECTRONIC DISCOVERY

       The parties have discussed any issues about preserving discoverable information.

The parties have also discussed the scope of discovery, including relevance and

proportionality. The parties agree on the following:

       The parties do not anticipate the scope of electronic discovery to be very

voluminous. The parties have sent their clients an appropriate litigation hold

memorandum. The parties further agree that after discovery commences, they will

exchange electronic discovery by means of exchanging and negotiating agreed-upon

custodian lists and search term lists to effectuate the searching and production of relevant,

non-privileged electronic discovery. The parties further agree to work together in good

faith to resolve any ESI issues cooperatively as they appear throughout the course of

discovery.


       The parties do not foresee that electronic discovery will be a significant issue in

this case and have represented they will work together to resolve any disputes. The

parties are advised that an e-Discovery Guide is available on the Court’s website

http://www.mnd.uscourts.gov. 1


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       If a formal plan or protocol is appropriate, the parties should: (1) consider
whether their plan should be submitted to the Court as a proposed order; (2) serve early
document requests pursuant to Rule 34 to facilitate their discussions about electronic
discovery, or, if early document requests are impracticable, serve a list of the types of
documents the party will seek in discovery; (3) discuss where discovery sought is stored,
including storage on the party’s premises, data stored by a party using third-party
providers (e.g., the “cloud”), storage on devices used by a party (or its employees, for
example) including laptops, smart phones, or other personal devices; (4) discuss whether
                                                          (Footnote continued on next page)
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SUMMARY OF FACTUAL STIPULATIONS OR AGREEMENTS

       The parties submitted the following factual stipulations or agreements in their

Rule 26(f) Report:

       In September 2019, the Minneapolis City Council enacted Minneapolis Ordinance
       244.2030 governing “Applicant screening criteria for prospective tenants.” The
       Ordinance mandates that Owners screen applicants by: (1) applying “inclusive
       screening criteria” or (2) conducting an “individualized assessment.” Before
       accepting applications for rental housing, owners “must make readily available to
       all applicants the landlord’s rental screening criteria in as much detail as feasible.”
       If an owner applies the “inclusive screening criteria,” it may not reject an applicant
       for certain enumerated reasons, including certain aspects of the applicant’s
       criminal history, credit score, or rental history. If the owner chooses to use any of
       the prohibited screening criteria, it must conduct an “individualized assessment”
       for any basis upon which the landlords intends to deny the applicant. The owner
       must accept and consider all supplemental information provided with the
       application to explain, justify, or negate the relevance of potentially negative
       information. An owner who denies an applicant must notify the applicant in
       writing within fourteen days of the rejection, providing the specific basis for
       denial and, if the denial comes after performing an individualized assessment, a
       list of the supplemental evidence considered and an explanation of the reasons
       why the supplemental evidence, if provided, did not adequately compensate for
       the factors which caused the rejection. When an owner fails to comply with these
       requirements, the owner is subject to criminal prosecution, revocation of rental
       licenses, administrative fines, restrictions, or penalties, and any other remedy at
       equity or law. The Ordinance became effective June 1, 2020, except for property
       owners with fifteen dwelling units or less, for which the effective date was
       December 1, 2020.




(Footnote continued from previous page)
email or other electronic communications will be sought and identify what electronic
discovery tools or techniques will be applied; and (5) discuss the other topics relating to
electronic discovery set forth in the Federal Rules of Civil Procedure. A plan or protocol
should be clear on how the plan or protocol will operate during the course of fact
discovery to satisfy a party’s obligation to respond to a first and subsequent set of
document requests.


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DEADLINES FOR INITIAL DISCLOSURES AND FACT DISCOVERY

      1.     The parties must make their initial disclosures under Fed. R. Civ. P.
             26(a)(1) on or before August 19, 2022. If a description by category and
             location of the documents is offered pursuant to Rule 26(a)(1)(A)(ii), the
             party must provide a copy of their initial disclosure documents by August
             31, 2022, to the extent they are in that party’s possession and control.

      2.     The parties must commence fact discovery procedures in time to be
             completed on or before February 28, 2023. 2

ADDITIONAL DISCOVERY LIMITATIONS

      The following discovery limitations apply:

      1.     No more than 25 joint interrogatories (between Plaintiffs and Defendant)
             and 5 individual party interrogatories (between individual Plaintiffs and
             Defendant).

      2.     No more than 30 document requests shall be served by each side.
             Objections to document requests must meet the requirements of amended
             Rule 34(b)(2)(B). If the responding party is producing copies of documents
             or copies of electronically stored information and the copies are not
             produced with the responses, another reasonable time must be specified in
             the response. If the requesting party disagrees that this is reasonable, the
             parties must meet and confer to agree on the timetable for production.

      3.     No more than 30 requests for admissions shall be served by each side.

      4.     No more than 15 factual depositions, excluding expert witness depositions,
             shall be taken by each side.

      5.     The parties have discussed the procedures for noticing and taking Rule
             30(b)(6) depositions and agree to the following: The parties agree that a
             deadline for serving 30(b)(6) notices of deposition shall not be required.
             The parties will serve 30(b)(6) notices of deposition in accordance with
             Federal Rule of Civil Procedure 30(b)(6).



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       This Scheduling Order may permit discovery after other deadlines have passed. As
just one example, a motion to amend deadline may expire during the discovery period
and discovery necessary to meet the deadline must be diligently pursued prior to the
expiration of the motion to amend deadline.

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DEADLINES FOR EXPERT DISCOVERY

       Disclosure of the identity of expert witnesses under Fed. R. Civ. P. 26(a)(2)(A)

and the full disclosures required by Rule 26(a)(2)(B), and production of the written report

prepared and signed by the expert witness, must be made as follows:

       1.     The Plaintiffs anticipate calling up to 5 experts in the fields of
              housing/rental markets and criteria, sociology/recidivism, and/or
              economic damages. The Defendant anticipates calling up to 5
              experts in the fields of housing/rental markets and criteria,
              sociology/recidivism, and/or economic damages. Counsel for the
              parties must meet and confer to confirm the experts and fields no
              later than November 15, 2022. This early deadline will allow the
              parties an opportunity to propose an amended schedule on the
              sequencing of initial expert reports for Plaintiffs and Defendant and
              corresponding rebuttal reports. The parties must jointly submit an
              amended schedule for the sequencing of expert disclosures no later
              than December 7, 2022 with the understanding that all expert
              discovery, including expert depositions, must be completed by June
              12, 2023. The parties must meet and confer to coordinate expert
              depositions immediately following each disclosure of experts so that
              all expert depositions can be coordinated and completed on time.
              The parties must inform their experts about the deadlines for expert
              disclosures and depositions in this Scheduling Order.

       2.     Each side may call up to 5 experts. Each party may take 1 deposition per
              expert.

NON-DISPOSITIVE MOTION DEADLINES

       1.     Motions seeking to join other parties must be filed and served by October
              17, 2022. The parties must diligently pursue any investigation or discovery
              using the appropriate discovery tools available to meet this deadline.

       2.     Motions seeking to amend the pleadings must be filed and served by
              October 17, 2022. The parties must diligently pursue any investigation or
              discovery using the appropriate discovery tools available to meet this
              deadline.




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       3.     Other non-dispositive motions.

              a)     All non-dispositive motions relating to fact discovery must be filed
                     and served by March 6, 2023.

              b)     All other non-dispositive motions, including motions relating to
                     expert discovery, must be filed and served by June 28, 2023.

              c)     The parties must meet and confer to resolve fact and expert
                     discovery disputes when they arise, and if unresolved, bring
                     discovery disputes promptly to the Court’s attention.

NON-DISPOSITIVE MOTIONS

       If a non-dispositive motion is filed, it must comply with the Electronic Case Filing

Procedures for the District of Minnesota, Local Rules 7.1, and for discovery motions,

also be in the form prescribed by Local Rule 37.1.

       The “Meet and Confer” requirement must include attempts to meet and confer

through personal contact, rather than solely through correspondence.

       Ideally, if the parties are not able to resolve their dispute following their meet and

confer and motion practice is necessary, the parties should jointly contact the Court to

obtain a hearing date that works for both sides.

       Once the moving party has secured a hearing date, it must promptly serve and file

the notice of hearing informing all parties of the nature of the motion and the date, time

and location of the hearing. The moving party may serve and file the motion and

remaining motion papers no later than 14 days before the hearing date, unless a different

briefing schedule is set. A party may not call chambers and secure a hearing date or

“hold” a hearing date without that party promptly serving and filing a notice of hearing.



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       Counsel may not notice additional motions for hearing on an already existing

hearing date without first contacting the Court for permission.

INFORMAL DISPUTE RESOLUTION (IDR) (NOT INVOLVING THIRD
PARTIES)

       Prior to initiating any non-dispositive motion, parties should consider whether the

matter can be informally resolved without a formal non-dispositive motion. All parties

must agree to participate before the Court will consider IDR. If there is no

agreement to resolve a dispute though IDR, then the dispute must be presented to

the Court through formal motion practice.

       If the parties agree to pursue the IDR process, they should contact the Magistrate

Judge’s Chambers by sending a joint (short) email to request IDR. The request must

include a joint one or two sentence description of the discovery dispute and a proposed

schedule for letter submissions. Upon receipt of the email, if the Court agrees that the

dispute should be resolved via IDR, the Court will schedule an IDR hearing date. If the

parties wish to proceed with IDR in a manner other than that previewed above, the short

joint email must include a specific proposal for the Court to consider.

DISPOSITIVE MOTIONS

       All dispositive motions shall be served and filed on or before August 1, 2023. All

dispositive motions shall be scheduled, filed, and served in compliance with the Order

regarding dispositive motion practices in cases assigned to District Judge Paul A.

Magnuson by contacting his Courtroom Deputy at 651-848-1156. Counsel are given




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notice that six to eight weeks advance notice is necessary to place a dispositive motion on

the calendar.

       Notwithstanding the foregoing, no party shall bring a dispositive motion pursuant

to Fed. R. Civ. P. 56 while formal discovery is ongoing without first obtaining permission

from the undersigned magistrate judge. Permission shall be sought by electronically filing

via ECF a letter of no more than three pages briefly setting forth the basis for the motion,

whether discovery relating to the issue or issues to be addressed by the motion is

complete, and why judicial efficiency would be served by allowing the motion to proceed

at this time. The other party or parties may file brief letters in support of or in response to

the request. Denial of a request for permission to file an interim dispositive motion shall

not be taken as an indication of the Court’s view about the merits of the proposed motion.

PROTECTIVE ORDER

       A protective order is in place. (Doc. No. 17.)

FILING DOCUMENTS UNDER SEAL

       If the parties file documents under seal, they must follow the procedures set forth

in Local Rule 5.6. This Court notes that the Committee Notes to the Local Rule are

instructive. See http://www.mnd.uscourts.gov/local_rules/LR-5-6.pdf.

PRIVILEGE/PROTECTION

       The parties agree to follow the procedure set forth in Fed. R. Civ. P. 26(b)(5)(B)

regarding information produced in discovery that is subject to a claim of privilege or

protection as trial-preparation material. Pursuant to Fed. R. Evid. 502, the inadvertent



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production of any documents in this proceeding shall not constitute a waiver of any

privilege or protection applicable to those documents.

SETTLEMENT CONFERENCE

      The Court will later confirm a date for setting a settlement conference. When

confirmed, a separate Order for Settlement Conference will be issued.

TRIAL

      This case will be ready for a jury trial on or about November 1, 2023.

Date: June 21, 2022

                                  s/ Becky R. Thorson
                                  BECKY R. THORSON
                                  United States Magistrate Judge


  **Magistrate Judge Thorson’s Practice Pointers and Preferences are attached to
    this Pretrial Scheduling Order. Counsel are responsible for reviewing and
             complying with the Practice Pointers and Preferences.**




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